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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

B.T., by and through her mother and legal
guardian, Robin T., and A.G., by and
through his mother and legal guardian,
Susel S.,

             Plaintiffs,

v.                                             Case No.: 4:22-cv-212-MW-MJF

JASON WEIDA, in his official capacity
as Secretary for the FLORIDA AGENCY
FOR HEALTH CARE
ADMINISTRATION,

          Defendant.
________________________________/

                             JOINT STATUS REPORT

        Plaintiffs and Defendant, by and through undersigned counsel, pursuant to

this Court’s March 27, 2023, docket entry requiring that the parties file a status report

on or before April 24, 2023, submit the following:

        As explained in the parties’ Joint Motion to Stay Proceedings (Doc. 55) and

the parties’ Joint Status Report (Doc. 57), the parties entered into a mediated

agreement on November 29, 2022, setting forth a potential pathway to resolution of

this case. In the initial phase of the agreement, AHCA was to develop and finalize,

on or before February 1, 2023, two documents—a notice document to be sent by

Medicaid managed care plans (“MCOs”) to Medicaid recipients and an alert to
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providers—and a spreadsheet for reporting complaints submitted to MCOs relating

to the speech therapy services at issue in this case. Although the documents are not

voluminous, many variables must be considered in creating them, and, because many

of these variables impact MCOs and a subcontractor of several of the MCOs,

coordination with these third parties has been necessary.

        As explained in previous joint status reports, AHCA was unable to finalize

the documents and spreadsheet as originally agreed in large part because of the

departure of AHCA’s Assistant Deputy Secretary for Medicaid Operations, who was

AHCA’s corporate representative with principal client responsibility for this case.

Accordingly, AHCA requested, and Plaintiffs agreed, to extend this deadline to May

12, 2023, and to corresponding 90-day extensions of the other deadlines in the

agreement.

        As the parties advised in their March 24, 2023, Joint Status Report (Doc.

58), AHCA does not intend to request further extensions of the deadlines in the

agreement, but may do so if unforeseen circumstances, such as further high-level

staff turnover, render compliance with the existing deadlines unfeasible.

Additionally, AHCA has a series of lawsuits scheduled to be tried in the second

quarter of 2023, and, although it is not presently anticipated, it is not unforeseeable

that responsibilities in those cases could impact AHCA’s ability to meet the modified

deadlines as well. The Plaintiffs reserve the right to reject any further requests.


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        The parties will alert the Court promptly if any matters arise that necessitate

the Court’s involvement.

      Respectfully submitted this 24th day of April, 2023.

/s/ Katherine DeBriere                        /s/ Erik M. Figlio
Katherine DeBriere                            Erik M. Figlio
FBN: 58506                                    FBN: 0745251
Florida Health Justice Project                Ausley McMullen
3900 Richmond St.                             123 S. Calhoun St. (23201)
Jacksonville, FL 32205                        P.O. Box 391
(352) 278-6059                                Tallahassee, FL 32302
debriere@floridahealthjustice.org             rfiglio@ausley.com




                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served
via CM/ECF on April 24, 2023, on all counsel of record.
                                       /s/ Erik M. Figlio
                                       ERIK M. FIGLIO




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